                                                                                                   FILED
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                                                                                               October 08, 2021
                                                                                             CLERK, U.S. DISTRICT COURT
                                                                                             WESTERN DISTRICT OF TEXAS
                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS                                     J. Galindo-Beaver
                                                                                         BY: ________________________________
                                                                                                                 DEPUTY
                                    WACO DIVISION




          STANDING ORDER GOVERNING PROCEEDINGS – PATENT CASES

This Order shall govern proceedings in all patent cases pending before the undersigned and the
following deadlines shall apply. 1

    1. Patent cases shall be set for a Rule 16 Case Management Conference (CMC) in
       accordance with the Court’s Standing Order Regarding Notice of Readiness in Patent
       Cases.

    2. Not later than 7 days before the CMC. Plaintiff shall serve preliminary infringement
       contentions in the form of a chart setting forth where in the accused product(s) each
       element of the asserted claim(s) are found. Plaintiff shall also identify the priority date
       (i.e. the earliest date of invention) for each asserted claim and produce: (1) all documents
       evidencing conception and reduction to practice for each claimed invention, and (2) a
       copy of the file history for each patent in suit.

    3. Two weeks after the CMC. The Parties shall submit an agreed Scheduling Order that
       generally tracks the exemplary schedule attached as Exhibit A to this Order, which the
       Court anticipates will be suitable for most cases. If the parties cannot agree, the parties
       shall submit a Joint Motion for entry of Scheduling Order briefly setting forth their
       respective positions on items where they cannot agree. Absent agreement of the parties,
       the Plaintiff shall be responsible for the timely submission of this and other joint filings.

    4. Seven weeks after the CMC. Defendant shall serve preliminary invalidity contentions in
       the form of (1) a chart setting forth where in the prior art references each element of the
       asserted claim(s) are found, (2) an identification of any limitations the Defendant
       contends are indefinite or lack written description under section 112, and (3) an
       identification of any claims the Defendant contends are directed to ineligible subject
       matter under section 101. Defendant shall also produce (1) all prior art referenced in the
       invalidity contentions, (2) technical documents, including software where applicable,
       sufficient to show the operation of the accused product(s). 2




1
 This OGP will be effective upon entry in all patent cases pending before the undersigned. If there are
conflicts between this OGP and prior versions in existing cases that the parties are unable to resolve, they
are encouraged to contact the Court for guidance via email to the Court’s law clerk.
2
 To the extent it may promote early resolution, the Court encourages the parties to exchange license and
sales information, but any such exchange is optional during the pre-Markman phase of the case.

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                                              DISCOVERY

Except with regard to venue, jurisdictional, and claim construction-related discovery, all other
discovery shall be stayed until after the Markman hearing. Notwithstanding this general stay of
discovery, the Court will permit limited discovery by agreement of the parties, or upon request,
where exceptional circumstances warrant. For example, if discovery outside the United States is
contemplated, the Court will be inclined to allow such discovery to commence before the
Markman hearing.

Following the Markman hearing, the following discovery limits will apply. The Court will
consider reasonable requests to adjust these limits should circumstances warrant.

    1.   Interrogatories: 30 per side 3
    2.   Requests for Admission: 45 per side
    3.   Requests for Production: 75 per side
    4.   Fact Depositions: 70 hours per side (for both party and non-party witnesses combined)
    5.   Expert Depositions: 7 hours per report 4

Electronically Stored Information. As a preliminary matter, the Court will not require general
search and production of email or other electronically stored information (ESI), absent a showing
of good cause. If a party believes targeted email/ESI discovery is necessary, it shall propose a
procedure identifying custodians and search terms it believes the opposing party should search.
The opposing party can oppose, or propose an alternate plan. If the parties cannot agree, they
shall contact the Court to discuss their respective positions.

                                       DISCOVERY DISPUTES

A party may not file a Motion to Compel discovery unless: (1) lead counsel have met and
conferred in good faith to try to resolve the dispute, and (2) the party has contacted the Court’s
law clerk to summarize the dispute and the parties’ respective positions. When contacting the
law clerks for discovery or procedural disputes, the following procedures shall apply.

        If the parties are at an impasse after lead counsel have met and conferred, the requesting
party shall email a summary of the issue(s) and specific relief requested to opposing counsel.
The email shall not exceed 500 words and shall include all counsel of record. The responding
party shall have three business days thereafter to provide an email response, also not to exceed
500 words. In situations where multiple items are at issue in the dispute (such as responses to

3
  A “side” shall mean the plaintiff (or related plaintiffs suing together) on the one hand, and the defendant
(or related defendants sued together) on the other hand. In the event that the Court consolidates related
cases for pretrial purposes, with regard to calculating limits imposed by this Order, a “side” shall be
interpreted as if the cases were proceeding individually. For example, in consolidated cases the plaintiff
may serve up to 30 interrogatories on each defendant, and each defendant may serve up to 30
interrogatories on the plaintiff.
4
 For example, if a single technical expert submits reports on both infringement and invalidity, he or she
may be deposed for up to 14 hours in total.

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interrogatories or categories of document production), the Court encourages the parties to
provide their submission in a table format (also not more than 500 words per side), which
identifies the disputed issues and specific relief requested.

        Once the opposing party provides its response, the requesting party shall email the
responsible law clerk (or the following email address if the assigned law clerk is not known:
TXWDml_LawClerks_JudgeAlbright@txwd.uscourts.gov) a combined email with the summary
positions from both sides. Thereafter, the Court will provide guidance to the parties regarding
the dispute, or arrange a telephonic hearing if the Court determines that additional argument
would be of benefit.

                                    PROTECTIVE ORDER

Pending entry of the final Protective Order, the Court issues the following interim Protective
Order to govern the disclosure of confidential information:

       If any document or information produced in this matter is deemed confidential by the
       producing party and if the Court has not entered a protective order, until a protective
       order is issued by the Court, the document shall be marked “confidential” or with some
       other confidential designation (such as “Confidential – Outside Attorneys’ Eyes Only”)
       by the disclosing party and disclosure of the confidential document or information shall
       be limited to each party’s outside attorney(s) of record and the employees of such outside
       attorney(s).

       If a party is not represented by an outside attorney, disclosure of the confidential
       document or information shall be limited to one designated “in house” attorney, whose
       identity and job functions shall be disclosed to the producing party 5 days prior to any
       such disclosure, in order to permit any motion for protective order or other relief
       regarding such disclosure. The person(s) to whom disclosure of a confidential document
       or information is made under this OGP shall keep it confidential and use it only for
       purposes of litigating the case.

                             CLAIM CONSTRUCTION ISSUES

Terms for Construction. Based on the Court’s experience, the Court believes that it should
have presumed limits on the number of claim terms to be construed. The “presumed limit” is the
maximum number of terms that each side may request the Court to construe without further
leave of Court. If the Court grants leave for additional terms to be construed, depending on the
complexity and number of terms, the Court may split the Markman hearing into multiple
hearings.

The presumed limits based on the number of patents-in-suit are as follows:

                     Limits for Number of Claim Terms to be Construed

 1-2 Patents                      3-5 Patents                      More than 5 Patents
 8 terms                          10 terms                         12 terms


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When the parties submit their joint claim construction statement, in addition to the term and the
parties’ proposed constructions, the parties should indicate which party or side proposed that
term, or if that was a joint proposal.

Claim Construction Briefing. The Court will require non-simultaneous claim construction
briefing with the following default page limits; however, where exceptional circumstances
warrant, the Court will consider reasonable requests to adjust these limits.5 These page limits
shall also apply collectively for coordinated and consolidated cases; however, the Court will
consider reasonable requests to adjust page limits in consolidated cases where circumstances
warrant. In addition, the Court is very familiar with the law of claim construction and
encourages the parties to forego lengthy recitations of the underlying legal authorities and
instead focus on the substantive issues unique to each case.

Unless otherwise agreed to by the parties, the default order of terms in the parties’ briefs shall be
based on 1) the patent number (lowest to highest), the claim number (lowest to highest), and
order of appearance within the lowest number patent and claim. An example order may be as
follows:

      1. 10,000,000 Patent, Claim 1, Term 1
      2. 10,000,000 Patent, Claim 1, Term 2 (where Term 2 appears later in the claim than does
         Term 1)
      3. 10,000,000 Patent, Claim 2, Term 3 (where Term 3 appears later in the claim than does
         Terms 2 and 3)
      4. 10,000,001 Patent, Claim 1, Term 4
      5. 10,000,001 Patent, Claim 3, Term 5
      6. 10,000,002 Patent, Claim 2, Term 6

To the extent that the same or similar terms appear in multiple claims, those same or similar
terms should be ordered according to the lowest patent number, lowest claim number, and order
of appearance within the patent and claim.

                                  Page Limits for Markman Briefs

    Brief                   1-2 Patents                  3-5 Patents              More than 5 Patents
    Opening                 20 pages                     30 pages                 30 pages, plus 5
    (Defendant)                                                                   additional pages for
                                                                                  each patent over 5 up
                                                                                  to a maximum of 45
                                                                                  pages
    Response                20 pages                     30 pages                 30 pages, plus 5
    (Plaintiff)                                                                   additional pages for
                                                                                  each patent over 5 up
                                                                                  to a maximum of 45
                                                                                  pages

5
 This OGP version shall apply retroactively to the Markman briefing in patent cases that are at least thirty
(30) days before the filing of the opening Markman brief.

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 Reply                     10 pages                    15 pages                15 pages, plus 2
 (Defendant)                                                                   additional pages for
                                                                               each patent over 5 up
                                                                               to a maximum of 21
                                                                               pages
 Sur-Reply                 10 pages                    15 pages                15 pages, plus 2
 (Plaintiff)                                                                   additional pages for
                                                                               each patent over 5 up
                                                                               to a maximum of 21
                                                                               pages

                 Technology Tutorials and Conduct of the Markman Hearing

Technology tutorials are optional, especially in cases where a technical advisor has been
appointed. If the parties choose to submit one, the tutorial should be in electronic form, with
voiceovers, and submitted at least 10 days before the Markman hearing. In general, tutorials
should be: (1) directed to the underlying technology (rather than argument related to
infringement or validity), and (2) limited to 15 minutes per side. The tutorial will not be part of
the record and the parties may not rely on or cite to the tutorial in other aspects of the litigation.

The Court generally sets aside one half day for the Markman hearing; however, the Court is open
to reserving more or less time, depending on the complexity of the case and input from the
parties. The Court will provide preliminary constructions to the parties ahead of the Markman
hearing. As a general rule, the party opposing the Court’s preliminary construction shall go first.
If both parties oppose the Court’s preliminary construction, the Plaintiff shall typically go first.

                                        GENERAL ISSUES

1. The Court will entertain reasonable requests to streamline the case schedule and discovery
   and encourages the parties to contact the Court’s law clerk when such interaction might help
   streamline the case.

2. To the extent the parties need to email the Court, the parties should use the following email
   address: TXWDml_LawClerks_JudgeAlbright@txwd.uscourts.gov. The parties should also
   be aware that the Court’s voicemail is not checked regularly so email is the preferred contact
   method and voicemails are not recommended.

3. The Court is generally willing to extend the response to the Complaint up to 45 days if
   agreed by the parties. However, longer extensions are disfavored.

4. Speaking objections during depositions are improper. Objections during depositions shall be
   stated concisely and in a nonargumentative and nonsuggestive manner. Examples of
   permissible objections include: “Objection, leading,” “Objection, compound,” “Objection,
   vague.” Other than to evaluate privilege issues, counsel should not confer with a witness
   while a question is pending. Counsel may confer with witnesses during breaks in a
   deposition without waiving any otherwise applicable privilege.


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5. Plaintiff must file a notice informing the Court when an IPR is filed, the expected time for an
   institution decision, and the expected time for a final written decision, within two weeks of
   the filing of the IPR.

6. With regard to any Motion to Transfer, the following page limits and briefing schedule shall
   apply:

        a. Opening – 15 pages
        b. Response – 15 pages, due 14 days after the Opening brief
        c. Reply – 5 pages, due 14 days after the Response brief

7. After the trial date is set, the Court will not move the trial date except in extreme situations.
   To the extent a party believes that the circumstances warrant continuing the trial date, the
   parties are directed to contact the Court’s law clerk.

8. The Court does not have a limit on the number of motions for summary judgment (MSJs),
   Daubert motions, or Motions in limine (MIL). However, absent leave of Court, the
   cumulative page limit for Opening Briefs for all MSJs is 40 pages per side, for all Daubert
   motions is 40 pages per side, and for all MILs is 15 pages per side. Responsive MSJ,
   Daubert, and MIL briefs are limited to the pages utilized in opening briefs or by the local
   rules, whichever is greater. Reply brief page limits shall be governed by the local rules.

9. For Markman briefs, 6 summary judgment motions, and Daubert motions, the parties shall
   jointly deliver to Chambers one paper copy printed double-sided of the Opening, Response,
   and Reply briefs, omitting attachments, at least 10 days before the hearing. Absent
   agreement to the contrary, the Plaintiff shall be responsible for delivering a combined set of
   paper copies to chambers. Each party shall also provide an electronic copy of the briefs,
   exhibits, and the optional technology tutorial via USB drive. For Markman briefs, the parties
   should also include one paper copy of all patents-in-suit and the Joint Claim Construction
   Statement. To the extent the Court appoints a technical adviser, each party shall deliver the
   same to the technical adviser, also 10 days before the hearing.

10. When filing the Joint Claim Construction Statement or proposed Protective Order, the parties
    shall also email the law clerk a Word version of the filed documents.

11. For all non-dispositive motions, the parties shall submit a proposed Order. The proposed
    Order shall omit the word “Proposed” from the title.




6
 But if the Court appoints a technical adviser for claim construction, the parties do not need to provide a
copy of the Markman briefs to the Court.

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12. Unless the Court indicates otherwise, the following Zoom information shall be used for all
    non-private hearings. The public is allowed to attend non-private hearings.

   https://txwd-uscourts.zoomgov.com/j/16057076711?pwd=WHljN0h3Yk03K3JLUTZ2a0tTMitPZz09

              Meeting ID: 160 5707 6711
              Password: 873559
              One tap mobile: +16692545252,,16057076711#,,1#,873559#


SIGNED this 8th day of October, 2021.




                                     ALAN D ALBRIGHT
                                     UNITED STATES DISTRICT JUDGE




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                            APPENDIX A – EXEMPLARY SCHEDULE

    Deadline                     Item

    7 days before CMC            Plaintiff serves preliminary 7 infringement contentions in the
                                 form of a chart setting forth where in the accused product(s)
                                 each element of the asserted claim(s) are found. Plaintiff shall
                                 also identify the earliest priority date (i.e. the earliest date of
                                 invention) for each asserted claim and produce: (1) all
                                 documents evidencing conception and reduction to practice
                                 for each claimed invention, and (2) a copy of the file history
                                 for each patent in suit.

    2 weeks after CMC            The Parties shall submit an agreed Scheduling Order. If the
                                 parties cannot agree, the parties shall submit a separate Joint
                                 Motion for entry of Scheduling Order briefly setting forth
                                 their respective positions on items where they cannot agree.
                                 Absent agreement of the parties, the Plaintiff shall be
                                 responsible for the timely submission of this and other Joint
                                 filings.

    7 weeks after CMC            Defendant serves preliminary invalidity contentions in the
                                 form of (1) a chart setting forth where in the prior art
                                 references each element of the asserted claim(s) are found, (2)
                                 an identification of any limitations the Defendant contends are
                                 indefinite or lack written description under section 112, and
                                 (3) an identification of any claims the Defendant contends are
                                 directed to ineligible subject matter under section 101.
                                 Defendant shall also produce (1) all prior art referenced in the
                                 invalidity contentions, and (2) technical documents, including
                                 software where applicable, sufficient to show the operation of
                                 the accused product(s).

    9 weeks after CMC            Parties exchange claim terms for construction.

    11 weeks after CMC           Parties exchange proposed claim constructions.

    12 weeks after CMC           Parties disclose extrinsic evidence. The parties shall disclose
                                 any extrinsic evidence, including the identity of any expert
                                 witness they may rely upon with respect to claim construction

7
  The parties may amend preliminary infringement contentions and preliminary invalidity contentions
without leave of court so long as counsel certifies that it undertook reasonable efforts to prepare its
preliminary contentions and the amendment is based on material identified after those preliminary
contentions were served, and should do so seasonably upon identifying any such material. Any
amendment to add patent claims requires leave of court so that the Court can address any scheduling
issues.

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                                  or indefiniteness. With respect to any expert identified, the
                                  parties shall identify the scope of the topics for the witness’s
                                  expected testimony. 8 With respect to items of extrinsic
                                  evidence, the parties shall identify each such item by
                                  production number or produce a copy of any such item if not
                                  previously produced.

    13 weeks after CMC            Deadline to meet and confer to narrow terms in dispute and
                                  exchange revised list of terms/constructions.

    14 weeks after CMC            Defendant files Opening claim construction brief, including
                                  any arguments that any claim terms are indefinite.

    17 weeks after CMC            Plaintiff files Responsive claim construction brief.

    19 weeks after CMC            Defendant files Reply claim construction brief.

    21 weeks after CMC            Plaintiff files a Sur-Reply claim construction brief.

    3 business days after         Parties submit Joint Claim Construction Statement.
    submission of sur-reply
                                  See General Issues Note #9 regarding providing copies of the
                                  briefing to the Court and the technical adviser (if appointed).

    22 weeks after CMC (but       Parties submit optional technical tutorials to the Court and
    at least 10 days before       technical adviser (if appointed). 9
    Markman hearing)

    23 weeks after CMC (or as     Markman Hearing at 9:00 a.m. This date is a placeholder and
    soon as practicable)          the Court may adjust this date as the Markman hearing
                                  approaches.

    1 business day after          Fact Discovery opens; deadline to serve Initial Disclosures per
    Markman hearing               Rule 26(a).

    6 weeks after Markman         Deadline to add parties.
    hearing

    8 weeks after Markman         Deadline to serve Final Infringement and Invalidity
    hearing                       Contentions. After this date, leave of Court is required for
                                  any amendment to infringement or invalidity contentions.
                                  This deadline does not relieve the parties of their obligation to


8
  Any party may utilize a rebuttal expert in response to a brief where expert testimony is relied upon by
the other party.



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                          seasonably amend if new information is identified after initial
                          contentions.

 16 weeks after Markman   Deadline to amend pleadings. A motion is not required unless
 hearing                  the amendment adds patents or patent claims. (Note: This
                          includes amendments in response to a 12(c) motion.)

 26 weeks after Markman   Deadline for the first of two meet and confers to discuss
                          significantly narrowing the number of claims asserted and
                          prior art references at issue. Unless the parties agree to the
                          narrowing, they are ordered to contact the Court’s Law Clerk
                          to arrange a teleconference with the Court to resolve the
                          disputed issues.

 30 weeks after Markman   Close of Fact Discovery.
 hearing

 31 weeks after Markman   Opening Expert Reports.
 hearing

 35 weeks after Markman   Rebuttal Expert Reports.
 hearing

 38 weeks after Markman   Close of Expert Discovery.
 hearing

 39 weeks after Markman   Deadline for the second of two meet and confers to discuss
 hearing                  narrowing the number of claims asserted and prior art
                          references at issue to triable limits. To the extent it helps the
                          parties determine these limits, the parties are encouraged to
                          contact the Court’s Law Clerk for an estimate of the amount
                          of trial time anticipated per side. The parties shall file a Joint
                          Report within 5 business days regarding the results of the
                          meet and confer.

 40 weeks after Markman   Dispositive motion deadline and Daubert motion deadline.
 hearing
                          See General Issues Note #9 regarding providing copies of the
                          briefing to the Court and the technical adviser (if appointed).

 42 weeks after Markman   Serve Pretrial Disclosures (jury instructions, exhibits lists,
 hearing                  witness lists, discovery and deposition designations).

 44 weeks after Markman   Serve objections to pretrial disclosures/rebuttal disclosures.
 hearing




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 45 weeks after Markman          Serve objections to rebuttal disclosures; file Motions in
 hearing                         limine.

 46 weeks after Markman          File Joint Pretrial Order and Pretrial Submissions (jury
 hearing                         instructions, exhibits lists, witness lists, discovery and
                                 deposition designations); file oppositions to motions in limine

 47 weeks after Markman          File Notice of Request for Daily Transcript or Real Time
 hearing                         Reporting. If a daily transcript or real time reporting of court
                                 proceedings is requested for trial, the party or parties making
                                 said request shall file a notice with the Court and e-mail the
                                 Court Reporter, Kristie Davis at kmdaviscsr@yahoo.com


                                 Deadline to meet and confer regarding remaining objections
                                 and disputes on motions in limine.

 8 weeks before trial            Parties email the Court’s law clerk to confirm pretrial and trial
                                 dates
 3 business days before          File joint notice identifying remaining objections to pretrial
 Final Pretrial Conference.      disclosures and disputes on motions in limine.

 49 weeks after Markman          Final Pretrial Conference.
 hearing (or as soon as
 practicable)

 52 weeks after Markman          Jury Selection/Trial.
 hearing (or as soon as
 practicable) 10




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  If the actual trial date materially differs from the Court’s default schedule, the Court will consider
reasonable amendments to the case schedule post-Markman that are consistent with the Court’s default
deadlines in light of the actual trial date.

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